Case 1:13-cv-01053-RCL Document 363-1 Filed 08/07/23 Page 1 of 3




          Exhibit A
      Case 1:13-cv-01053-RCL Document 363-1 Filed 08/07/23 Page 2 of 3




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA



In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations
––––––––––––––––––––––––––––––––––             Misc. Action No. 13-mc-1288 (RCL)
                                               CLASS ACTION
THIS DOCUMENT RELATES TO:
ALL CASES


             EXPERT REPORT OF ANJAN V. THAKOR, Ph.D.

       CONFIDENTIAL AND SUBJECT TO PROTECTIVE ORDER
                                    August 12, 2021
         Case 1:13-cv-01053-RCL Document 363-1 Filed 08/07/23 Page 3 of 3




     reasonable discretion and in consultation with the Chairman of the Federal Reserve; provided,
     that [Treasury] may waive the Periodic Commitment Fee for up to one year at a time, in its
     sole discretion, based on adverse conditions in the United States mortgage market.

     (c) At the election of [the GSEs], the Periodic Commitment Fee may be paid in cash or by
     adding the amount thereof ratably to the liquidation preference of each outstanding share of
     Senior Preferred Stock so that the aggregate liquidation preference of all such outstanding
     shares of Senior Preferred Stock is increased by an amount equal to the Periodic Commitment
     Fee. [The GSEs] shall deliver notice of such election not later than three (3) Business Days
     prior to each Periodic Fee Date. If the Periodic Commitment Fee is not paid in cash by 12:00
     pm (New York time) on the applicable Periodic Fee Date (irrespective of [the GSEs’] election
     pursuant to this subsection), [the GSEs] shall be deemed to have elected to pay the Periodic
     Commitment Fee by adding the amount thereof to the liquidation preference of the Senior
     Preferred Stock, and the aggregate liquidation preference of the outstanding shares of Senior
     Preferred Stock shall thereupon be automatically increased, in the manner contemplated by the
     first sentence of this section, by an aggregate amount equal to the Periodic Commitment Fee
     then due.

        14.     The PCF, however, was never implemented but rather was waived by Treasury.11

By 2012, the housing market was improving as were the profitability expectations for Fannie and

Freddie. As of July 2012, based on Fannie Mae projections, FHFA expected that the cumulative

dividends paid by Fannie and Freddie would exceed Treasury’s cumulative investment by 2020.12

However, on August 17, 2012, Treasury and FHFA amended the PSPAs (the “Third

Amendment”), to modify the dividend payable to Treasury beginning on January 1, 2013 to be

equal to the positive net worth of Fannie and Freddie, less an applicable capital reserve amount

(the “Net Worth Sweep”).13 This essentially gave Treasury a claim to 100% of the earnings of each

institution, thereby eliminating any ability of private shareholders to receive a dividend or other

distributions from the GSEs.




11
   Fannie Mae Form 10-K for the year ended December 31, 2012, p. F-8 and F-9; Freddie Mac Form 10-K for the
year ended December 31, 2012, p. 35 and 228.
12
   FHFA 00047889; DeMarco Deposition Exhibit 33 (slide 14).
13
   Third Amendment to Amended and Restated Senior Preferred Stock Purchase Agreement between Fannie Mae
and Treasury dated August 17, 2012, p. 4; Third Amendment to Amended and Restated Senior Preferred Stock
Purchase Agreement between Freddie Mac and Treasury dated August 17, 2012, p. 4.


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